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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 20-cv-20884-UU

CRUISE PARTNERS, LLC,

       Plaintiff,

v.

ROYAL CARIBBEAN CRUISES, LTD.,

       Defendant.
                                                      /

                                   ORDER TO SHOW CAUSE

       THIS CAUSE comes before the Court sua sponte. The Court has considered the pertinent

portions of the record and is otherwise fully advised in the premises.

       On April 16, 2020, the Court entered a Scheduling Order requiring the parties to file a Joint

Pretrial Stipulation and Proposed Findings of Fact and Conclusions of Law no later than November

13, 2020. D.E. 9. To date, no such Pretrial Stipulation or Proposed Findings of Fact and

Conclusions of Law have been filed. Accordingly, it is hereby

       ORDERED AND ADJUDGED that Plaintiff SHALL show good cause in writing by

Thursday, November 19, 2020, as to why this case should not be dismissed for failure to comply

with the Court’s Scheduling Order. Further, the parties SHALL file the Joint Pretrial Stipulation

and Proposed Findings of Fact and Conclusions of Law by that date. Failure to comply with this

order will result in the immediate dismissal of this action without further notice.

       DONE AND ORDERED in Chambers, Miami, Florida, this 17th_ day of November, 2020.



                                              __________________________________
                                              URSULA UNGARO
                                              UNITED STATES DISTRICT JUDGE
Copies furnished:
All counsel of record
